          Case 4:17-cv-00274-RCC Document 53 Filed 11/16/18 Page 1 of 1



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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Elena Macias,                                      No. CV-17-00274-TUC-RCC
10                   Plaintiff,                         ORDER
11   v.
12   Mark A Kirkorsky PC,
13                   Defendant.
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15            Pending before the Court is Plaintiff’s request for entry of final judgment. Doc. 52.

16   Good cause appearing;

17            IT IS HEREBY ORDERED that the request is granted. The Clerk of Court is

18   directed to enter a final judgment in favor of Plaintiff Elena Macias and against

19   Defendant Mark A. Kirkorsky, P.C. in the amount of $54,998.12.

20            Dated this 15th day of November, 2018.
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